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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

SILVIA MARTINEZ,                                          )
                                                          )
                      Plaintiff,                          )
                                                          )
         vs.                                              )           Court No. 1:20-cv-336
                                                          )
ARAMARK SERVICES, INC., ARAMARK                           )
FACILITY SERVICES, INC., ARAMARK                          )
BUSINESS FACILITIES, LLC (and each doing                  )
business as "Aramark"),                                   )           Jury Trial Demanded
                                                          )
                      Defendants.                         )

  ANSWER AND AFFIRMATIVE DEFENSES OF ARAMARK UNIFORM & CAREER
          APPAREL, LLC TO PLAINTIFF’S COMPLAINT AT LAW

         NOW COMES the Defendant, Aramark Uniform & Career Apparel, LLC (incorrectly

sued as “Aramark Services, Inc., Aramark Facility Services, Inc., and Aramark Business

Facilities, LLC), by and through its attorneys, Wood Smith Henning & Berman, LLP, and for its

Answer and Affirmative Defenses to Plaintiff’s Complaint at Law, states as follows:

                                            THE PARTIES

         1.       Plaintiff, Ms. Martinez, is a resident of the State of Illinois and of this County.

        ANSWER: This Defendant has insufficient knowledge to either admit or deny the
allegations contained in Paragraph 1, and thus neither admits nor denies them but
demands strict proof thereof.

        2.      Defendant, Aramark Services, Inc. is a Delaware corporation. Upon information
and belief, at all relevant times, this Aramark entity regularly and continuously was doing and
transacting business in this County

       ANSWER: This Defendant admits that Aramark Services, Inc. is a corporation
organized under the laws of the State of Delaware, but has insufficient knowledge to either
admit or deny the remaining allegations contained in Paragraph 2, and thus neither admits
nor denies them but demands strict proof thereof.




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         3.    Defendant, Aramark Facility Services, Inc. is a Delaware corporation. Upon
information and belief, at all relevant times, this Aramark 'entity regularly and continuously was
doing and transacting business in this County.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 3.

       4.     Defendant, Aramark Business Facilities, LLC, is a Delaware limited liability
company. Upon information and belief, at all relevant times, this Aramark entity regularly and
continuously was doing and transacting business in this County.

        ANSWER: This Defendant admits that Aramark Business Facilities, LLC is a
limited liability company organized under the laws of the State of Delaware, but has
insufficient knowledge to either admit or deny the remaining allegations contained in
Paragraph 4, and thus neither admits nor denies them but demands strict proof thereof.

      5.      The three above-referred Aramark entities will collectively be referred to in this
Complaint as "Aramark." Each of them engage in business under the "Aramark" name.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 5.

         6.       Venue is proper in this Court pursuant to 735 ILCS 5/2-101(1) and (2).

         ANSWER:              This Defendant admits the allegations contained in Paragraph 6.

                                         BACKGROUND FACTS

        7.     At all relevant times, Aramark was responsible for maintaining, cleaning, and
supervising the premises at the James R. Thompson Center/States of Illinois Building, located at
100 W. Randolph Street in Chicago, Illinois (hereinafter "the Premises"). Upon information and
belief, Aramark was performing such services pursuant to a written contract.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 7.

        8.    On or about December 29, 2017, Ms. Martinez was properly and lawfully on and
inside the Premises, and thus had permission and authorization to be in, on, and inside the
Premises.

        ANSWER: This Defendant has insufficient knowledge to either admit or deny the
allegations contained in Paragraph 8, and thus neither admits nor denies them but
demands strict proof thereof.

        9.    At all relevant times on that date, and while on and inside the Premises, Ms.
Martinez was keeping a proper look-out and reasonably and prudently watching out for her own
safety.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 9.



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        10.    As Ms. Martinez walked through the inside of the Premises, she came upon a
matt. Unbeknownst to Ms. Martinez, that matt was not properly maintained, positioned, and
anchored. As Ms. Martinez made contact with the matt, it gave way and moved - causing her to
slip and fall.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 10.

      11.         Ms. Martinez was immediately taken by ambulance to Northwestern Hospital in
Chicago.

        ANSWER: This Defendant has insufficient knowledge to either admit or deny the
allegations contained in Paragraph 11, and thus neither admits nor denies them but
demands strict proof thereof.

        12.    As a direct and proximate result of the above-described occurrence, Ms. Martinez
suffered substantial physical and psychological injuries for which she has received extensive
medical treatment and for which she may receive additional medical treatment, including torn
meniscus in her left knee that ultimately resulted in surgery after weeks of physical therapy, as
well as physical therapy to recover after that surgery.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 12.

         13.      Ms. Martinez did not cause or contribute to that occurrence.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 13.

         14.    Ms. Martinez filed a report regarding the above-referenced occurrence with the
Illinois State Police.

        ANSWER: This Defendant has insufficient knowledge to either admit or deny the
allegations contained in Paragraph 14, and thus neither admits nor denies them but
demands strict proof thereof.

                                             LEGAL CLAIMS
                                                COUNT I
                                             (NEGLIGENCE)

        15.    Ms. Martinez incorporates and realleges by reference, as though fully set forth
herein, Paragraphs 1 through 14 above, as Paragraph 15 of Count 1.

      ANSWER: This Defendant adopts and incorporates by references its answers to
Paragraphs 1 through 14 above as its answer to Paragraph 15.

       16.     At all relevant times, Aramark owed-a duty, including to Ms. Martinez, to
maintain, operate, clean, and supervise the Premises, including the above-referenced matt and the



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area in and around it, in a safe manner that did not present an unreasonable risk of injury to those
who were authorized and lawfully upon the Premises.

       ANSWER: This Defendant admits only those duties imposed upon it by law, but
denies any breach of duties herein and denies the remaining allegations of Paragraph 16
not specifically admitted.

        17.     Aramark breached those duties in one or more of the following ways: carelessly
and negligently failed to securely anchor the matt in such a way that it could not and would not
give way; carelessly and negligently failed to monitor the use and operation of the matt and the
surrounding premises; carelessly and negligently failed to perform inspection, maintenance, and
repair on the matt; carelessly and negligently failed to warn her of the potential that the matt
could give way, or of its condition, including by way of signage or otherwise; and carelessly and
negligently failing to monitor and supervise those who were maintaining the Premises for it.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 17.

       18.    As a direct and proximate result of Aramark's above-reference negligent acts and
omissions, Ms. Martinez suffered her above-referenced fall.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 18.

       19.     As a direct and proximate result of Aramark's above-referenced negligent acts and
omissions, Ms. Martinez has suffered damages, including but not limited to physical injuries,
psychological injuries, pain and suffering, lost wages, and medical expenses.

         ANSWER:              This Defendant denies the allegations contained in Paragraph 19.

         WHEREFORE, Defendant, Aramark Uniform & Career Apparel, LLC (incorrectly sued

as “Aramark Services, Inc., Aramark Facility Services, Inc., and Aramark Business Facilities,

LLC), prays that Plaintiff’s Complaint at Law be dismissed and that judgment be entered in its

favor and against Plaintiff, including the award of costs wrongfully incurred in the defense of

this matter.

                                       AFFIRMATIVE DEFENSES

         NOW COMES Defendant, Aramark Uniform & Career Apparel, LLC (incorrectly sued

as “Aramark Services, Inc., Aramark Facility Services, Inc., and Aramark Business Facilities,




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LLC), by and through its attorneys, WOOD SMITH HENNING & BERMAN LLP, and for its

Affirmative Defenses to Plaintiff’s Complaint at Law, states as follows:

Affirmative Defense No. 1

         This Defendant is entitled to a set-off from any settling tortfeasor regardless of whether

or not they are actual Defendants or Third-Party Defendants. This Defendant is entitled to the

set-off regardless of whether the Court has entered a good faith finding.

Affirmative Defense No. 2

         That if the allegations contained in Plaintiff’s Complaint are true, which this Defendant

denies, Plaintiff’s contributory negligence reduces any recovery she may make in this matter in

that she:

                  A.          Failed to keep a proper lookout;

                  B.          Carelessly and negligently failed to watch where she was walking;

                  C.          Failed to exercise due care and caution in the area where she was walking; and

                  D.          Was otherwise careless or negligent.

Affirmative Defense No. 3

         That if the allegations contained in Plaintiff’s Complaint are true, which this Defendant

denies, the Plaintiff’s contributory negligence is greater than 50%, and thus, bars any recovery

she may make in that she:

                  A.          Failed to keep a proper lookout;

                  B.          Carelessly and negligently failed to watch where she was walking;

                  C.          Failed to exercise due care and caution in the area where she was walking; and

                  D.          Was otherwise careless or negligent.




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Affirmative Defense No. 4

         That if the allegations contained in Plaintiff’s Complaint are true, which this Defendant

denies, the sole and proximate cause of the injuries and damages sustained was not the conduct

of this Defendant, but the conduct of the Plaintiff or some other party not sued by the Plaintiff.

Affirmative Defense No. 5

         That if the allegations contained in Plaintiff’s Complaint are true, which this Defendant

denies, the condition that allegedly caused Plaintiff’s injuries was open and obvious at all

relevant times.

Affirmative Defense No. 6

         That if the allegations contained in Plaintiff’s Complaint are true, which this Defendant

denies, this Defendant had no notice of the alleged defective condition.

                                              Respectfully submitted,


                                              By: /s/ Craig M. Derrig
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                                CERTIFICATE OF SERVICE

I hereby certify that on the 16th day of January 2020, I electronically filed the foregoing with
the Clerk of Court using the CM/ECF system, which will then send a notification of such filing
to the following:


and I hereby certify that I will mail the document by U.S. Mail to the following non-filing user:

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Attorneys for Plaintiff, Silvia Martinez


                                                        By: /s/ Craig M. Derrig




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